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To Whom It May Concern,

      ​ My name is Haley Holdren, and I am the 20-year-old daughter of Mark Holdren. I am a
college student at West Virginia University, and I am an aspiring doctor. I am also a girl who
misses her father. I know that my dad made inexcusable mistakes and an array of wrong choices,
but I ask with tears in my eyes that you show mercy on him. I have no right to ask for his mercy,
but I ask as an older sister who is watching her younger brother grow up without his father
present, trust that what I say is the truth.
My dad was arrested on November 30, 2023. I remember waking up to a phone call from my
mom telling me that it had finally happened and to say that I was in shambles is an
understatement. I don't remember what I had for breakfast or what outfit I was wearing, but I
remember the text message from him, before he turned himself into the police, telling me to have
a good day and that he loves me. One thing for certain about him is that he will never hold back
from telling you that he loves you.
His heart is good, and I know this because I see it in my little brother every day. Konnor (17) and
our dad could be twins, personality wise. They are quick witted and full of humor. They could
make you laugh in an instant and that is something I will never forget about them both. My dad,
regardless of who you are, how you know him, or the amount of time you've known him, will
always do what he is capable of to make sure you're happy and safe. Other people's happiness
brings him joy, which is why he loves to make people laugh.
I have such a strong memory of sitting in his living room crying over a boy who treated me
terribly. My dad knew that I was sad, so he let me pick a movie, made me popcorn and snacks,
and sat with me while I cried silently. Towards the end of the movie I was cheering up and he
could see it, so what does he do? He gets up in a tizzy and grabs my foot and starts popping my
toes. He pulled on my pinky toe so hard that I almost cried of both pain and laughter because if I
had sat still, it would have been over in a second, but I wouldn't stop squirming. He and I belly
laughed about this for probably 10 minutes after it was over. His laugh is deeply contagious!
Since my dad has been incarcerated, he has written letters to my brother and I, along with our
grandmother for all the major holidays, and even just because he wanted to. I have saved all the
letters and even the envelopes that they arrived in because it makes me feel so much closer to
him, knowing that I have his handwriting. For my brother’s last two birthdays, my dad asked me
to buy a birthday card and have us put his letters in there. I write in them, “Happy Birthday,
Buddy! I love you, Dad.” I write in them because my handwriting is extremely similar to my
dad’s, and I want these cards to resemble what it would be like to get one from our dad. I’m not
sure that my baby brother will ever get another card from our dad before he becomes a father
himself, and this fills me with fear.
My dad, Mark Allen Holdren, is the man that I look up to. He taught me how to hunt, he was
with me when I shot my first deer. He made sure that when I was old enough to start driving that
I could change my own tires because he didn’t want me to need help from anyone else. He taught
me to be independent and carry myself proudly. I try to reach these goals every day because even
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though he has disappointed me with his actions, I still want him to be proud of mine. I want him
to see how good life can be if you are faithful and walk through life with optimism and God both
by your side. I want to inspire my dad so that he can see how fulfilling his life can be once he
finally is released.
My dad failed society and his role as a correctional officer the day these mistakes were made but
I am asking as an older sister, please show mercy on my dad. Not for me and not necessarily for
his sake, but please, for my brother’s sake. Allow this seventeen-year-old boy to see his dad
again so that he can help our dad be better. Become better! Allow me to make sure that he makes
no mistake like this one ever again. Allow us to help him pay his debt to society and only learn
and become better from this life altering event.

Thank you deeply for your time and consideration,
Haley Holdren
(304) 237-6036
